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                                                                           DEFENDING THE DEFENDERS OF LIFE


July 26, 2024

Hon. Kenneth M. Karas
Chamber 533
United States Courthouse
300 Quarropas Street
White Plains, NY 10601

RE:     People of the State of New York, by Letitia James v. Red Rose Rescue, et al.,
        7:23-cv-04832-KMK

Dear Judge Karas,

On April 24, 2024, this Court approved a stipulation to bifurcate the liability and remedies
phases of this lawsuit, and to set a briefing schedule for a motion for summary judgment on
liability in the above-referenced matter. Doc. 82. A dispute has arisen between Plaintiff and
Defendants as to the meaning of that stipulation.

The parties are not seeking any change to the briefing schedule.

The stipulation reads, in pertinent part:
        “The parties note that Defendants have agreed not to challenge the status of Red
        Rose Rescue as a legal entity capable of being sued or bound by an injunction nor
        will they challenge the admissibility or authenticity of video or photographic
        evidence Plaintiff submitted in connection with its Motion for a Preliminary
        Injunction. Under those terms, Plaintiff has agreed to seek a liability
        determination based solely on the factual record it presented in its Motion. The
        parties accordingly propose that they cease all discovery on liability and brief
        summary judgment on liability on the existing record.
Doc. 82 (emphasis added).

The stipulation goes on to set the dates for briefing and set rules for further discovery on
remedies “including damages, penalties, and the scope of the injunction” should one or more
defendants be found liable. Id.

On July 15, Plaintiff filed a Memorandum of Law in Support of Motion for Summary Judgment
(Doc. 84), the Declaration of Sandra Pullman (Doc 84-2) and a Rule 56.1 Statement of Material
Facts (84-1). Plaintiff did not file a motion for summary judgment.

Plaintiff’s papers included dozens of citations to Defendants’ Answers to the Complaint (Docs.
69, 70, 71) filed January 31, 2024. Also included were an unverified discovery response from
Red Rose Rescue, Goodman, Hinshaw, and Connolly, dated April 1, 2024 (Exhibit 5 to the
Declaration of Sandra Pullman (Doc. 84-7) and a video of a non-party, recorded in Washington




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D.C., in October 2020, that was never in the record in this case (Exhibit 6 to the Declaration of
Sandra Pullman (Doc. 84-8)).

The parties met and conferred via telephone and multiple e-mails. As a result of that process,
Plaintiff agreed to withdraw Exhibit 6 (Doc. 84-8) and references to it in the Memorandum of
Law (Doc 84 at 13-14, n. 3) and the Rule 56.1 Statement of Material Facts (Doc. 84-1 at ¶120).
As a further result, Defendant RRR today served an amendment to the discovery response filed
by Plaintiff as Exhibit 5 (Doc. 84-7). The amendment corrected an unintentionally erroneous
representation made by counsel for RRR, an erroneous statement that was quoted by Plaintiff in
the Memorandum of Law (Doc. 84 at 13-14, n.3 and 24, n.6) and the Rule 56.1 Statement of
Material Facts (Doc. 84-1, ¶109(q) and 120).

However, Plaintiff stands on her decision to include the three Answers filed by Defendants
despite stipulating that she would “seek a liability determination based solely on the factual
record” of the preliminary injunction motion.

In light of the unambiguous language of the stipulation, it is not Defendants’ burden to justify
exclusion of the Answers -- which were indisputably not part of the preliminary injunction
record -- from the papers supporting Plaintiff’s motion for summary judgment (when that motion
is filed).

Defendants note, however, that the Answers add nothing to Plaintiff’s argument for liability for
the three alleged violations of FACE charged in the Complaint. Plaintiff did not point to any
material fact related to liability that relies on any Answer. Rather, Plaintiff uses the Answers to
needlessly lengthen its already needlessly detailed Statement of Material Facts by the addition of
extraneous material about, inter alia, the Defendants’ conduct at other places and times, conduct
that is irrelevant to the issue of liability here.

Defendants seek an order from this Court directing Plaintiff, by August 5, to:
   1) File a motion for summary judgment.
   2) Re-file its Memorandum of Law and Rule 56.1 Statement of Material Facts, omitting all
      references to the Defendants’ Answers (as well as incorporating the agreed-to changes
      noted above).

Respectfully submitted,

/s/ Catherine Short
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Life Legal Defense Foundation
Counsel for Defendant Laura Gies

/s/ Christopher A. Ferrara
Christopher A. Ferrara
Thomas More Society
Counsel for Defendants Red Rose Rescue,
John Hinshaw, Will Goodman, and Matthew Connolly



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